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          EXHIBIT 32
8/24/2017                Johnson
                       Case      & Johnson Consumer Inc. to Acquire
                             1:17-cv-11008-MLW              DocumentNeoStrata Company,
                                                                           38-2        Inc., 08/25/17
                                                                                   Filed     a Leader in Dermocosmetics
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Apr 26, 2016


Johnson & Johnson Consumer Inc.
to Acquire NeoStrata Company,
Inc., a Leader in Dermocosmetics
SKILLMAN, N.J., April 26, 2016 /PRNewswire/ -- Johnson & Johnson Consumer
Inc. (NYSE: JNJ) announced today that it has entered into a definitive agreement to
acquire NeoStrata Company, Inc., a global leader in dermocosmetics. The
acquisition will include NeoStrata's affiliates and parent company TriStrata,
Incorporated, a privately-held company. Financial terms were not disclosed.

NeoStrata, based in Princeton, N.J., has a history of innovation that includes
breakthrough research in Alpha hydroxy acids, which have become a standard
among anti-aging technologies in the beauty category. The Company develops and
markets a range of clinically-proven, dermatologist-developed, skin care products
that meet the needs of every skin type.

"Drs. Ruey Yu and Eugene Van Scott formed NeoStrata in 1988 and continue to
make significant contributions to the science of skincare. NeoStrata's legacy in
dermocosmetics will complement our global Consumer portfolio and enable us to
deliver advanced skin care brands to consumers around the world," said Jorge
Mesquita, Worldwide Chairman, Consumer, Johnson & Johnson. "NeoStrata and
Johnson & Johnson share a strong history of innovation and together we will work
to discover important new skin care solutions grounded in deep human insights and
compelling science. We look forward to working closely with NeoStrata's
distributors around the world and having their outstanding team of employees join
Johnson & Johnson Consumer later this year."

The acquisition is subject to clearance under the Hart-Scott-Rodino Antitrust
Improvements Act and other customary closing conditions and expected to close in
the first half of 2016.

About Johnson & Johnson Consumer Inc.
Johnson & Johnson Consumer Inc., based in Skillman, N.J., is one of the world's
largest consumer health and personal care products company. Our consumer
companies produce many of the world's most trusted brands, among them
JOHNSON'S® Baby, BAND-AID®, NEUTROGENA®, TYLENOL®, MOTRIN®, and
LISTERINE®. Each one of our consumer businesses embraces innovative science to
http://www.investor.jnj.com/releasedetail.cfm?releaseid=966943                                                                    1/2
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create products that anticipate consumer needs and create experiences that help
them live healthy, vibrant lives.

Cautions Concerning Forward-Looking Statements
This press release contains "forward-looking statements" as defined in the Private
Securities Litigation Reform Act of 1995 regarding the potential acquisition of
NeoStrata Company, Inc. and its affiliates. The reader is cautioned not to rely on
these forward-looking statements. These statements are based on current
expectations of future events. If underlying assumptions prove inaccurate or known
or unknown risks or uncertainties materialize, actual results could vary materially
from the expectations and projections of Johnson & Johnson Consumer Inc. and
Johnson & Johnson. Risks and uncertainties include, but are not limited to: the
satisfaction of closing conditions for the acquisition, including clearance under the
Hart-Scott-Rodino Antitrust Improvements Act; the possibility that the transaction
will not be completed in the expected timeframe or at all; the potential that the
expected benefits and opportunities of the acquisition, if completed, may not be
realized or may take longer to realize than expected; uncertainty of commercial
success for new or existing products; challenges inherent in new product research
and development; economic conditions, including currency exchange and interest
rate fluctuations; competition, including technological advances, new products and
patents attained by competitors; challenges to patents; changes to applicable laws
and regulations, including global health care reforms; and changes in behavior and
spending patterns or financial distress of purchasers of health care products and
services. In addition, if and when the transaction is consummated, there will be risks
and uncertainties related to the ability of Johnson & Johnson Consumer Inc. to
successfully integrate the products and employees of NeoStrata Company, Inc. and
its affiliates, as well as the ability to ensure continued performance or market growth
of their products. A further list and description of these risks, uncertainties and
other factors can be found in Johnson & Johnson's Annual Report on Form 10-K for
the fiscal year ended January 3, 2016, including in Exhibit 99 thereto, and the
company's subsequent filings. Copies of these filings are available online
atwww.sec.gov, www.jnj.com or on request from Johnson & Johnson. Neither
Johnson & Johnson Consumer Inc. nor Johnson & Johnson undertakes to update
any forward-looking statement as a result of new information or future events or
developments.



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